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EXHIBIT Y ©
EXPERT REPORT OF
GARY GRAVES
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ANN MILLER RAYEL

County Counsel

County of Santa Clara

San Jose, California

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ANN MILLER RAVEL, County Counsel (S.B. #62139)
THERESA J. FUENTES, Deputy County Counsel (S.B. #208588)

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Attorneys for Intervenor
COUNTY OF SANTA CLARA

UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF CALIFORNIA

AND THE NORTHERN DISTRICT OF CALIFORNIA

UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES

PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE

RALPH COLEMAN, et al.,
Plaintiffs,
V.
ARNOLD SCHWARZENEGGER, et al.,

Defendants.

MARCIANO PLATA, et al.,
Plaintiffs,
v.
ARNOLD SCHWARZENEGGER, et al.,

Defendants.

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Intervenor County of Santa Clara’s
Expert Report of Gary Graves

No. CIV 8-90-0520 LKK JFM P
THREE-JUDGE COURT

No. C01-1351 TEH
THREE-JUDGE COURT

INTERVENOR COUNTY OF SANTA
CLARA’S EXPERT REPORT OF GARY
GRAVES

Date: November 18, 2008

Time: 1:30 p.m.
Location: U.S.D.C. Ceremonial Courtroom

CIV S-90-0520 LKK JFM P/ C01-1351 TEH

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Expert Report of Gary A. Graves
Coleman, Plata v Arnold Schwarzenegger
August 15, 2008

T arn currently employed as the Assistant County Executive for Santa Clara
County and have been so employed since August 2003. Previously, I have
served Santa Clara County as the County Budget Director from 1984 through
1997 and Deputy County Executive from 1997 to 2003. Previous to that I was
employed by the City of New York as a Principal Budget Analyst responsible for
Police services from 1979 through 1984,

AS an example, in 2002 | provided staff leadership in Supporting the County
State Association of Counties-(CSAC) State Budget Task Force in the
development of responsible alternatives for State budget reductions in the Fy
2003 budget process. Specifically, I was involved in developing proposals for
the Revenue, Bonded Indebtedness and Information Technology Subcommittee.

Over the past 10 years I have also been asked by CSAC to make presentations
to the New Supervisors Institute providing information and insights about how
the county budget process works, who the stakeholders are in the typical
budget process and how to evaluate departmental budget proposals. The
invitations to present at these meetings were based on my reputation and the
expertise I have developed during my career with Santa Clara County

During the past five years my areas of responsibility have broadened and I have
Spent more time managing and coordinating countywide issues in the criminal
justice area. During the past twelve months | have appeared three times before
legislative committees on issues that impact counties. In May of 2007 I
appeared before the Assembly Budget Subcommittee to discuss the impacts of

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the Coleman/Plata v. Schwarzenegger Federal litigation. The workgroup was
asked to: 1) estimate, based on the number of Probationers and diverted
prisoners, the cost range of various programs proposed by the Settlement
Referee; 2) Assuming the state could and would provide sufficient funding to
implement the necessary programs in each county, create or adapt a
mechanism for allocating those funds to particular counties; 3) Create or adapt
an audit mechanism to track the funding by program and/or participant and 4)
Create or adapt an evaluation tool to determine whether the programs being
funded were effective in reducing recidivism.

As the Assistant County Executive for Santa Clara County with extensive

expertise in fiscal matters and how legislative changes can affect counties, I am

prepared to offer my opinion regarding the impact of releasing inmates
currently held in state prison on Santa Clara County. I have not been retained
or specially employed to provide testimony in this case, nor do my duties
regularly involve giving expert testimony.

In preparation for rendering an opinion, I have reviewed the following
materials:

a. FY 2009 Santa Clara County Recommended Budget

b. California Association of Public Hospitals —- Website — Fast Facts

c. Santa Clara County Board Transmittal - Finance Committee — August 13,
2008 — Response to Referral on Inventory Proposal #3 — Agenda Item #5

d. Santa Clara County Board Transmittal — Public Safety and Justice
Committee ~ December 13, 2007 - Report Back on the Department of
Correction Bed Capacities, Closed Housing Units and Vacancy.Rates

€. Legislative Analyst’s Office — Parole Realignment and the 2008-2009
Budget — LAO’s Alternative Budget Package

f. E-Mail from Robert Garner re: Drug and Alcohol Adult Treatment Costs

g. E-Mail from Nancy Pena re: Mental Health Adult Service Costs — Inpatient
and Outpatient Programs

h. E-Mail from Sandi Eovino — Information regarding Average Daily
Population in Santa Clara County Department of Correction

i. E-Mail from Emily Harrison re: Questions about Homeless Count

J. Memo From Edward Fiores, Chief of Correction — Impact of Imposition of a
Cap on State Prisoner Population

Opinion #1 — The impact of the release of state prisoners directly into Santa
Clara County or the imposition of a population cap at the State level would
create jail overcrowding conditions in our systems and significant budgetary
impacts.

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Over the past 12.months Santa Clara County has analyzed the potential
impacts of various actions that could be taken by the Federal Court to reduce
the inmate population in the State prison system. Various Strategies have been
discussed including:

e The immediate release of 40,000 inmates from the state correctional
system.

¢ A phased release of 40,000 inmates from the State correctional system.

° Parole realignment that would transfer 71,000 inmates to local systems,

* A population cap of roughly 135,000 inmates.

These actions could transfer from 1,500 to 3,500 individuals from the state
system to Santa Clara County. The estimate of 1,500 inmates is based on
analysis done by the Santa Clara County Department of Correction related to
the impact of a population cap that would reduce the statewide inmate
population by 40,000. The estimate of 3,500 individuals is based on analysis
done by the Legislative Analyst’s Office and relates to the impact of a parole
realignment proposal developed by the LAO during the FY 2009 state budget
process. Whether inmates are transferred by one action or phased over a
period of time, the impact to our system would be overwhelming.

At the current time the Santa Clara County Corrections system has a Board of
Corrections rated capacity of 3,810 although we identify our capacity at 5,380.
Our average daily population during 2008 has been 4,737. We are currently
exceeding the Board of Correction rated capacity by 24% but have 643 slots
available according to our current Capacity. From the perspective of accepted
jail management standards, Santa Clara County has very little flexibility to
house additional inmates and the affect of even a phased transfer would be to
push our system into an overcrowded condition. Our estimates show that the
addition of 1,500 inmates would require additional double bunking and the use
of inappropriate areas of our facilities to house prisoners. Based on the nature
of the Coleman/Plata litigation, it would be inappropriate to shift the problem
of overcrowding from the state level to the local level and consider that the
problem being litigated had been solved.

It is important to note that during the past 5 years (FY 2003 through FY 2008)
Santa Clara County has solved deficits that have exceeded $1 billion. During
FY 2009 Santa Clara County faced a general fund deficit of $172 million and
we project significant deficits into the future. We have been forced to reduce
the resources allocated to the Department of Corrections and have closed
housing units in order to balance our budget. We currently house over 400
State, federal and other county inmates that contribute $15 million to the
operation of our jail system. If faced with the requirement of housing 1,500
additional prisoners, we would be forced to terminate our revenue contracts
creating a funding shortfall for the county and creating a new housing issue for
both the state and federal governments. Considering our current financial

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crisis, an action of this kind would cause the further deterioration of our
financial stability and the elimination of discretionary programs.

It is important to also note that Santa Clara County has been extremely
aggressive in managing our jail population. We have established a Jail
Population Task Force with representatives from all of the criminal justice
agencies, including the courts, to develop proposals and ideas to reduce jail
population and divert individuals into other programs to address their needs.
We have an extremely successful Drug, Alcohol and Mental Health diversion
system that with the support of the court we are able to divert many
individuals instead of having them sit in jail with no access to treatment. We
have allocated significant discretionary general funds to support these
programs in order to reduce the chance these individuals will reoffend. If
additional resources are needed to house and support inmates, the money
would have to be reallocated from existing discretionary programs, like drug,
alcohol and mental health treatment programs that would impair our ability to
reduce recidivism and reduce the number of people in jail and prison.

Any actions taken by the State or Federal Court to return inmates from the
state system to counties without adequate funding to provide services would do
nothing to address the crisis we find ourselves in. Even though Santa Clara ~
County has worked diligently to provide alternatives to incarceration, the same
cannot be said of the state and inmates are released back into the community
with little or no treatment of their conditions. As a result, the state has a
recidivism rate of 70% to 80% and those individuals end up back in the
criminal justice system using both local and state resources and not resolving
any of the overcrowding issues that have created this crisis.

Opinion #2 — Our local Drug and Alcohol system including inpatient and
outpatient services would not be able to support the addition of new clients
without resources.

Santa Clara County has a history of allocating discretionary general fund
resources to make sure individuals get the services they need. In 2009 the .
Board of Supervisors appropriated over $20 million above required match levels
for Drug and Alcohol programs. With the financial difficulties and challenges
we now face and will face in the future, our ability to sustain these programs is
at risk, Santa Clara County has also embraced Proposition 36 and allocated
discretionary general fund resources to keep individuals afflicted with the
disease of drug and alcohol addiction out of jail and in treatment. Through a
very cooperative arrangement with the Superior Court, Santa Clara County has
achieved completion rates above 50% for Prop 36 programs, among the highest
rate in the state. At the current time there are no resources available to
provide services to large numbers of released or paroled state inmates. In fact,
such an action if taken by the court would seriously impact our ability to
continue services to our existing clients.

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One of the critical issues that have emerged from looking at the problems faced
by the State correctional system is the lack of effective programs especially in
the areas of substance abuse. The kinds of programs typically offered in
counties are not available in state prison and as a result, recidivism rates are
in the 70% to 80% range. Releasing these individuals into our local systems
without enhancing our service delivery capacity will only result in these people
re-entering the system with no relief from the current crisis.

It is important to note that most new funding available for Drug and Alcohol
programs is mandated for criminal justice programs. The waiting lists and
programming available for individuals not in the criminal justice system are
substantial. This represents a significant issue for local Boards of Supervisors
as our systems have little or no capacity to treat residents unless they are
being referred from the criminal justice system. This is a true equity issue if a
resident cannot access service because counties have been mandated by State
law or the court to provide services to individuals being referred from the
criminal justice system and counties do not have the resources to provide
services to them.

In reviewing the profiles of individuals that would be released from State Prison
or on parole, our subject experts have indicated that 70% have substance
abuse problems that would require treatment in our system. These are
generally accepted prevalence rates in prison systems for inmates afflicted with
substance abuse issues. At the current time we estimate that in Santa Clara
County it costs an average of $4,369 to serve the average client on an annual
basis. If 1,500 inmates were released or paroled requiring service, this would
translate into a cost of $4.6 million. If 3,500 were released or paroled requiring
service, this would translate into a cost of $10.7 million. Santa Clara County
could not support this cost without impacting all of our other service delivery
systems and seriously disrupting what is an already fragile health and social
service safety net.

Opinion #3 - Our local Mental Health system including inpatient and
outpatient services would not be able to support the addition of new clients
without resources.

Another critical area where Santa Clara County has focused energy is diverting
individuals with Mental Health issues from jail into programs where they can
receive treatment. With the cooperation of our courts, we have established a
Mental Health court where individuals suspected of suffering from mental
disease can be treated instead of spending time in jail.

In reviewing the profiles of individuals that could be released or paroled to local
communities, we believe that 20% would require mental health treatment, 10%
in an inpatient environment and 10% in an outpatient environment. These are
generally accepted prevalence rates in prison systems for inmates afflicted with

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Mental Health issues. The cost to treat an individual as an inpatient is
$19,380 and as an outpatient is $4,839. If 1,500 inmates were released or
paroled requiring mental health service, this would translate into a cost of $3.6
million. If 3,500 inmates were released or paroled required mental health
service, this would translate into a cost of $8.5 million. Once again, Santa
Clara County has no available resources to provide these additional services. It
is not even clear if our existing system has the capacity to treat a large number
of new clients even if resources were available.

At the current time it is important to note there are very few facilities that
provide inpatient services so capacity is an important issue when you face the
possibility of introducing a significant number of new clients into our system.
As indicated with Drug and Alcohol programs, mental health services are
generally not available to the general population in the State correctional
system. As a result their road to recovery will be long, difficult and expensive.

Santa Clara County has invested significant general fund resources in our
mental health system. On a statewide basis, we allocate more discretionary
resources to enhance mental health service levels than any other county in the
State. Even in the face of difficult financial times, Santa Clara County
currently spends over $70 million in excess of required matches on mental
health programs. In addition, we have utilized Proposition 63 funding to
develop criminal justice programs for mental health clients. Even with this
level of investment our system is not able to come close to meeting the demand
in the community for mental health services. We are forced to only treat the
most acutely mentally ill leaving many without service, The introduction of any
Significant number of new clients without additional resources could easily
cause the system to collapse.

Opinion #4 - The release or parole of a significant number of state inmates will
further exacerbate the homeless problem in Santa Clara County as there is
currently an insufficient supply of affordable housing units.

The issue of affordable housing and homelessness is a serious one in Santa
Clara County. In 2007 the County’s Office of Affordable Housing determined
through an annual count process that there were over 7,000 homeless in Santa
County. Based on information provided by a cross section of the homeless that
were interviewed, over 10% or 700 had come from criminal justice facilities. If
more individuals are released outright or on parole, the potential for an
increase in the number of homeless is very real.

Santa Clara County has taken several steps to address the issues of affordable
housing and the homeless. In 2002 the Board of Supervisors.established the
Affordable Housing Fund and the Office of Affordable Housing. The goal of this
action was to proactively address the severe lack of affordable housing for the
County’s most needy populations and consolidate County housing services for
better effectiveness.

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The County has allocated discretionary general fund resources to leverage with
other local funds as well as State and Federal Funds. In total, $17.7 million in
local funds has leveraged a total investment of $398 million. These funds have
assisted in the acquisition or development of 21 different housing projects

which have or will result in 1,658 new housing units and 51 permanent shelter -
beds.

The need for affordable housing in every county in California is significant.

Any plan to release prisoners on parole or in any other fashion must consider
the impact on already strained systems including housing. Like Alcohol, Drug
and Mental Health services, if issues like housing are not taken into
consideration, many of the released inmates will return to the criminal justice
system because they have no other choice if they are to survive. The county’s
safety net is extremely fragile and the there must be a recognition of this fact in
any decision that is made.

Opinion #5 — The release or parole of a significant number of state inmates will]
put an additional burden on public health care facilities in Santa Clara County.

The public health system in the state of California is straining to meet the
needs of residents. Those that are uninsured or insured by Medi-cal have little
choice but to rely on public hospitals. At this point in time only 11 out of 58
counties operate hospitals. Many counties no longer can afford to operate
hospitals and the care is contracted out. Even though just 6% of all California
hospitals are publicly run,

They provide 45% of all hospital care to the state’s 6.5 million uninsured
Operate almost 60% of the top-level trauma and burn centers

Provide more than 60% of the state’s psychiatric emergency care

Deliver 11 million outpatient visits per year.

~~ A404

Counties are required by statute to provide health care to the uninsured or
those insured by Medi-cal. Many private providers have terminated their Medi-
cal contracts and will only see these patients if they present themselves in their
emergency rooms. This population represents a significant financial burden for
counties. In Santa Clara County, the general fund has provided subsidies in
excess of $100 million over the past three years. The introduction of a
Significant number of individuals that have health issues is a serious concern
that must be addressed by any plan to shift inmates to local jurisdictions.
Counties do not have the financial wherewithal to absorb these kinds of costs
without compromising other critical service delivery systems.

Any solution to the jail overcrowding issue must address the impacts on local
government. It is unacceptable to shift a problem of this magnitude from the

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State to the County without addressing these concerns and providing resources
that will solve these problems identified above.
I have not testified as an expert or by deposition in the last four years.

I will supplement the opinions included herein if more information becomes
available.

My Curriculum Vitae is attached.

Fitts,
Ga . Graves
Assistant County Executive

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GARY A. GRAVES

2539 Derby Drive Home — (925) 830-4568
San Ramon, CA 94583 Business (408) 299-5180

OBJECTIVE

Appomtment as Chief Executive Officer responsible for providing vision and leadership while assuring the
provision of cfficient and effective services within a public policy context.

PROFILE

M 24 years experience working in a large urban county with a record of significant
achievement in developing innovative programmatic and financial solutions for a wide
vanity of organizational issues

@ Possess an unquestoned commitment to ethics; emphasize an honest and straightforward
approach to organizational and personal communications

M@ Strong interpersonal skills demonstrated by the existence of strong relatonships wath
Board members and their statl, elected officials, union leaders and the community

M A detailed understanding of the programs and services provided by counties including
hospital and managed care issues, 24-hour insitutons adult and juvenile correctional
facilites and Social Services/Welfare requirements

RELEVANT EXPERIENCE AND ACCOMPLISHMENTS
ASSISTANT COUNTY EXECUT. IVE, County of Santa Clara, San Jose, CA 8/03 to Present

Chief Operating Officer and County Executive Pro Vem for Santa Clara County. Directly supervise
Information Services, Procurement, Facilities and Fleet, the Office of Budget and Analysis and the
Office of Emergency Services. Chair the Admunistratve Capital Committee, County Space Allocation
Comunittee, Proposition 36 Steering Committee, Disaster Preparedness Executive Committee and the
Jal Population Task Force. Executive liaison to the Superior Court and the lead negotiator in the
transier of court facilities lo the State. Provide lead staff support to the Board’s Health and Hospital
Committec, the Public Salety and Justice Committee and the Finance and Government Operations
Committee. Recent achicvements include:

" Developing the plan to restructure indigent defense services in Santa Clara County

" Leading the current review of the Criminal Justice System with Consultant support to develop a
new model for managing criminal cases in the Criminal Court

* Providing leadership in cvaluaing recent correctional initiatives relating to AB-900 and the
impending impacts of the Coleman/Plata litigauon on Santa Clara County.

" Developing a strategy to maximize the utilization of the county’s real estate assets through ground
lease, development and sale,

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Page Two
Gary A, Graves

DEPUTY COUNTY EXECUTIVE, County of Santa Clara, San Jose, CA 9/97 to S03
One of four Deputy County Executives providing direct staff support to the County Executive and
member of the County Executive’s senior executive team: Responsibilities included

* Management and oversight of the County’s resource allocation process. Direct the Office of
Budget and Analysis in the development and review of financial and policy information which
includes the creation of the annual budget

"Responsible for the Information Services function defining information technology strategies and
ways to apply innovative technology solutions to departmental work flow issues.

° Provided County staff leaderslup in supporting the CSAC State Budget Task Force in the
development of responsible alternatives for State budget reductions in FY 2003. Developed
proposals for ie Revenue, Bonded Indebtedness and Information Technology Subcommittee

° Lead the design of the Child Support Transition effort, including a significant outreach effort,
and the development of checklist to assure the successful transition of this important function.

° Led the development of the County’s Long Range Capital Financing plan. This effort has
resulled in the construction of $520 million of high priority capital projects while protecting the
county’s AA+ credit rating. :

© Provided direct staff support to the Board’s Ad Hoc Committee charged with analyzing the
general fund subsidy of Valley Medical Center.

DIRECTOR, OFFICE OF BUDGET AND ANALYSIS, County of Santa Clara 8/91 to 9/97

Provide leadership in the development of strategies that link financial and policy goals that define
recommendations regarding service delivery to the Board of Supervisors. Work directly with Board
Members as the County Executive’s representative on several Committees including Budget, Audit,
Technology, Health and Hospital and the Investment Policy Committee. Serve as Santa Clara County’s.
Chief Budget Architect and the Chief Budget Advisor to the County Executive and Board of Supervisors.

" From FY 1991 through FY 1997, developed reduction targets and orchestrated over $300 nullion in
deficit solutions including $200 million in expense reductions and $100 million in revenue solutions.

"Negotiated innovative six-year agreement with ciues regarding booking fces protecting revenues and
providing incentives for reducing the number of bookings and reducing the upward pressures on the
county’s jail population.

BUDGET ANALYSIS MANAGER, County of Santa Clara, San Jose, CA 8/84 to S/O]

Responsible for the day-to-lay operations of the Office of Budget and Analysis. Developed the framework
for the annual budget process including the public budget hearings. Developed recommendations that made
up the substance of each years recommended budget. In dus role provided a vanety of support to the
County Executive including the development of an extended financial planning process and the completion
of several policy analyses including issues surrounding jail closure and diversion alternatives to avoid jail
overcrowding and reviewing options in providing medical care to the indigent.

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Page Three
Gary A. Graves

DIVISION MANAGER - POLICE SERVICES, OFFICE OF MANA GEMENT AND B UDGET,
City of New York, N.Y, 1Y/81 to S84.

Oversight responsibility for the fiscal management of all Police services in the City of New York. This
included the New York City Police, the Transit and the Housing Authority Police Departments, whose
expense and capital budgets totaled more than $1.2 billion and whose stalf exceeded 36,000 uniformed and
civilian personnel. Directed several in-depth analyses concerning Police Operations. ‘These included
analyzing optimal deployment strategies for the Transit Police and a study analyzing the consequences of new
Pohce patrol procedures that would have been required if a one-officer car patrol strategy was adopted.

SUPERVISING ANALYST, OFFICE OF MANA GEMENT AND BUDGET, City of New ¥ ork,
N.Y. 280 to 1Y/8]

Directed staff in the management of one of the most complex agency budgets within New York City
government. The Mayoralty is comprised of 14 discrete agencies, all of whom provide direct staff support to
the Mayor. This position required a high degrce of technical proficiency and the ability to
resolve intricate policy issues through negotiation and compromise. Responsibilities included the
preparation of the Executive Budget and creation of detailed five-year financial plans for each agency.

FINANCIAL CONSULTANT, URBAN ACADEMY FOR MANAGEMENT - New York, NY. 3/79
to £80
Mayor responsibility was the development and implementation of a restructured expense budget for the City

of New York. Developed procedures and formulated detailed work manuals to assist. fiscal managers in
monitoring and interpreting monthly fiscal data. Trained 400 New York City fiscal personnel.

MANAGEMENT ANALYST, DEPARTMENT OF HEALTH, EDUCATION AND WELFARE
(HEW), Washington, D.C. (Y78 to YW7Y)

Developed HEW’s first “Master Facilities Plan” for all HEW owned facilities as part of the 1979 zero-based
budgeting process. Evaluated capital projects and recommended funding within the facilities plan based on
_ life-cycle costing and cost-benelit analyses.

EDUCATION

HARVARD UNIVERSTT ¥% JOHN F KENNEDY SCHOOL OF GOVERNMENT, Cambridge,
Massachusetts

Program for Senior Executives in State and Local Government - 1994

STATE UNIVERSITY OF NEW YORK AJ ALBANY, NELSON ROCKEFELLER SCHOC IL OF
PUBLIC AFFAIRS, Alban yy, New York

Master of Public Administration - 1978
Concentration in Administrative Management

BUCKNELL UNI VERSITY, Lewisburg; Pennsylvania

Bachelor of Arts - Economics and Political Science - 1976

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l UNITED STATES DISTRICT COURT

2 FOR THE EASTERN DISTRICT OF CALIFORNIA

3 AND THE NORTHERN DISTRICT OF CALIFORNIA

4 UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES

5 PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE

6 PROOF OF SERVICE BY MAIL

7

8 Plata, et al. v. Schwarzenegger, et al. Nos. CO1-1351 THE (Northern District)

9 CIV S-90-0520 LKK JFM P (Eastern District)
10 I, Linda Ramos, say:

1 {am now and at all times herein mentioned have been over the age of eighteen years,
employed in Santa Clara County, California, and not a party to the within action or cause; that
12 my business address is 70 West Hedding, East Wing, 9" Floor, San Jose, California 951 10-
1770. Tam readily familiar with the County’s business practice for collection and processing
13 of correspondence for mailing with the United States Postal Service. I served a copy of
EXPERT REPORT OF GARY GRAVES by placing said copy in an envelope addressed to:

SEE ATTACHED SERVICE LIST

which envelope was then sealed, with postage fully prepaid thereon, on August 15, 2008,

16 and placed for collection and mailing at my place of business following ordinary business
practices. Said correspondence will be deposited with the United States Postal Service at San
17 Jose, California, on the above-referenced date in the ordinary course of business: there is
delivery Service by United States mail at the place so addressed.

I declare under penalty of perjury under the laws of the State of California that the

19 foregoing is true and correct, and that this declaration was executed on August 15, 2008, at San
Jose, California. , ,

22 inda Ramos —

ANN MILLER RAVEL
County Counsel
County of Santa Clary

San ios, Car Proof of Service by Mail and E-Mail l Graves/ 00013

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Exhibit A

Fiscal Year 2009 Santa Clara County Recommended Budget

Santa Clara County Trial Exhibit #A
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EXHIBIT B
TO EXPERT REPORT OF
GARY A. GRAVES
CAPH - Fast Facts

Case 2:90-cv-00520-KJM-SCR__D

California Association
of Public Hospitals
and Health Systems
Leaders in health care policy,
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Fast Facts

CALIFORNIA’S ESSENTIAL PUBLIC HOSPITALS

California ‘s 19 public hospitals make up the core of the state’s medical safety net ~ delivering care to all who need it, regardless of
ability to pay, immigration status or insurance.

Though just 6% of all California hospitals statewide, public hospitals:

Provide nearly 45% of all hospital care to the state’s 6.5 million uninsured
Operate almost 60% of the top-level trauma and burn centers

Are teaching hospitals, training 45% of the doctors in the state

Provide more than 60% of the state’s psychiatric emergency care

Deliver 11 million outpatient visits per year

READ/PRINT ENTIRE FAST FACTS DOCUMENT (UPDATED FEB. 2007)

CAPH members:

Source:

constitute 10,5% of the state's hospital beds

train 45% of all medical residents in the state

provide 43% of the state's burn care

provide 57% of the state's level I trauma centers

deliver 87% of the state's outpatient care to the medically indigent
handle 32% of the state's Medi-Cal neo-natal intensive care

deliver 29% of the state's inpatient care to the Medi-Cal population
provide 38% of the state's outpatient care to the Medi-Cal population
provide £1 million outpatient clinic visits annually

serve a patient population that is 70% non-white

provide more than half of all outpatient care delivered by hospitals to the uninsured
deliver 74% of the state's inpatient care to the medically indigent
provide 63% of the state's psychiatric emergency care

are tocated in counties containing 81% of all Californians

Office of Statewide Health Planning and Development

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http://www.caph.org/fastfacts.htm 8/13/2008
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Exhibit C
August 13, 2008 Report to the Board of Supervisors from the Office of Affordable Housing

Santa Clara County Trial Exhibit #B
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Exhibit D

December 13, 2007 Report to the Board of Supervisors from the Department of Correction
Re: Report Back on the Department of Correction Bed Capacities, Closed Housing Units,
and Vacancy Rates

Santa Clara County Trial Exhibit #C
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Exhibit E

Parole Realignment and the 2008-2009 Budget

County of Santa Clara Trial Exhibit #R
Case 2:90-cv-00520-KJM-SCR Document 3147-4 Filed 10/30/08 Page 24 of 28

Exhibit F

Fiscal Year 2006 Adult Treatment Cost for the Department of Drug and Alcohol

County of Santa Clara Exhibit #F
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Exhibit G

Santa Clara Valley Health and Hospital System Mental Health Department Fiscal Year
2008 Adult Full Service Partnership Expenses and County Adult Service Teams

County of Santa Clara Trial Exhibit #G
Case 2:90-cv-00520-KJM-SCR. Document 3147-4 Filed 10/30/08 Page 26 of 28

Exhibit H

August 7, 2008 email to Graves from Eovino
Re: Department of Correction Housing Report

County of Santa Clara Trial Exhibit #I
Case 2:90-cv-00520-KJM-SCR Document 3147-4 Filed 10/30/08 Page 27 of 28

Exhibit I

August 11, 2008 email to Harrison from Scheiner Re: Homeless Count

County of Santa Clara Trial Exhibit #H
. . ,
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Exhibit J

September 14, 2007 Report to County Budget Director From the Department of Correction
Re: Impact of Imposition of a Cap on State Prisoner Population

County of Santa Clara Trial Exhibit #D
